
718 S.E.2d 391 (2011)
PIRAINO BROTHERS, LLC
v.
ATLANTIC FINANCIAL GROUP, INC.; McKee Estates, LLC; Darrell Avery, II; Jeffrey L. Avery; Robert N. Burris; Burris, MacMillan, Pearce &amp; Burris, PLLC; David Baker; and Baker &amp; Baker, PLLC.
No. 205P11.
Supreme Court of North Carolina.
November 9, 2011.
Richard L. Farley, Charlotte, for Piraino Brothers, LLC.
Zipporah Edwards, Charlotte, for Baker, David, et al.
T. Richard Kane, Charlotte, Andrew Erteschik, Raleigh, for Burris, Robert N.

ORDER
Upon consideration of the petition filed on the 24th of May 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of November 2011."
MARTIN, J. recused.
